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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 1:11-CR-00269 AWI
                                             )
12                        Plaintiff,         )   STIPULATION AND
                                             )   ORDER FOR CONTINUANCE OF STATUS
13   v.                                      )   CONFERENCE
                                             )
14   MOHAMMAD MICHAEL ODEH, and              )
     NICOLE PEREZ,                           )
15                                           )
                          Defendants.        )
16                                           )
17         IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Mark Broughton, attorney for Mohammad Michael Odeh, and
20   Anthony Capozzi, attorney for Nicole Perez, that the status
21   conference set for June 11, 2012 be continued to July 23, 2012 at
22   1:00 p.m.    The parties need additional time for further investigation
23   and to engage in plea negotiations.         The case involves extensive
24   discovery, including reports and recordings of over 40
25   witness/defendant interviews.       The parties have been engaged in
26   discussions continuously throughout the pendency of these
27   proceedings, however, within the past week, an obstacle to resolution
28   seems to have been removed and the parties need additional time to

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 1   finalize an agreeable disposition.         The parties further request the
 2   Court to enter an Order finding that the "ends of justice" served by
 3   a continuance outweigh the interest of the public and the defendant
 4   in a speedy trial, and that the delay occasioned by such continuance
 5   is excluded from the Act's time limits pursuant to 18 U.S.C. §
 6   3161(h)(7)(A).
 7
     Dated: June 8, 2012                     Respectfully submitted,
 8
                                             BENJAMIN B. WAGNER
 9                                           United States Attorney
10
                                       By     /s/ Kimberly A. Sanchez
11                                           KIMBERLY A. SANCHEZ
                                             Assistant U.S. Attorney
12
     Dated: June 8, 2012                     /s/ Mark Broughton
13                                           MARK BROUGHTON
                                             Attorney for Mohammad Michael Odeh
14
15   Dated: June 8, 2012                     /s/ Anthony Capozzi
                                             ANTHONY CAPOZZI
16                                           Attorney for Nicole Perez
17
18
19
              IT IS SO ORDERED.
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               Dated:   June 8, 2012             /s/ Dennis L. Beck
21   3b142a                                 UNITED STATES MAGISTRATE JUDGE
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